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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

Matthew Fitzsimmons and                          )
Karen Fitzsimmons,                               )
                                                 )
                       Plaintiffs,               )
                                                 )     Case No.: 21 cv 50295
               v.                                )
                                                 )     Magistrate Judge Margaret J. Schneider
Josephine Frechette,                             )
                                                 )
                       Defendant.                )

                          MEMORANDUM OPINION AND ORDER

       Matthew Fitzsimmons and Karen Fitzsimmons (“Plaintiffs”) brought suit against
Josephine Frechette (“Defendant”), alleging claims of negligence and loss of consortium. Before
the Court is Plaintiffs’ motion for new trial, which is denied for the following reasons.

   A. Background

        On July 30, 2019, Matthew Fitzsimmons was riding his bicycle on County Road 36 in
Fulton, Illinois. Josephine Frechette was driving on North Bridge Approach Road, approaching
the intersection with County Road 36. Before Josephine Frechette reached the intersection, a pilot
truck escorting an oversized load stopped on County Road 36, in front of the intersection. Due to
the pilot truck’s position in the intersection, Josephine Frechette drove off the roadway and onto
the grass to take a right-hand turn onto County Road 36. Josephine Frechette’s truck and Matthew
Fitzsimmons’s bicycle then collided. Matthew Fitzsimmons fell off his bicycle and hit his head on
the pavement.

        Matthew Fitzsimmons and his wife, Karen Fitzsimmons, brought the instant suit against
Josephine Frechette, alleging claims of negligence and loss of consortium. After a six-day trial,
the jury returned a verdict for Plaintiff Matthew Fitzsimmons against Defendant Josephine
Frechette. The jury determined that the July 30, 2019 collision caused Matthew Fitzsimmons to
suffer $8,500 in damages. The jury then reduced this award by the percentage of negligence
attributed to Matthew Fitzsimmons for the collision, 40%. After this reduction, Matthew
Fitzsimmons’s final award of damages was $5,100. As to the claim of loss of consortium, the jury
found in favor of Defendant Josephine Frechette, and against Plaintiff Karen Fitzsimmons.

   B. Legal Standard

        Pursuant to Federal Rule of Civil Procedure 59, a court may “grant a new trial on all or
some of the issues . . ., for any reason for which a new trial has heretofore been granted in an action
at law in federal court.” Magnuson v. Trulite Glass & Aluminum Solutions, LLC, No. 19 cv 6158,
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2024 WL 1216338, at *2 (N.D. Ill. March 21, 2024) (quoting Fed. R. Civ. P. 59(a)(1)(A)). A new
trial “is appropriate if the jury's verdict is against the manifest weight of the evidence or if the trial
was in some way unfair to the moving party.” Id. (internal quotations and citations omitted). Trial
courts have “considerable discretion” in ruling on a motion for new trial. Id.; see also PECO Pallet,
Inc. v. Northwest Pallet Supply Co., No. 15 cv 50182, 2019 WL 8324483, at *2 (N.D. Ill. Jan. 29,
2019). Plaintiffs’ motion for new trial is governed by federal law, but substantive questions raised
in the motion are governed by Illinois law. M.T. Bonk Co. v. Milton Bradley Co., 945 F.2d 1404,
1407 (7th Cir. 1991).

    C.    Argument

        Plaintiffs argue that the jury’s award of damages to Plaintiff Matthew Fitzsimmons is
against the manifest weight of the evidence. They also argue that the jury’s verdict against Plaintiff
Karen Fitzsimmons is inconsistent with the verdict for Matthew Fitzsimmons. Plaintiffs ask the
Court to enter judgment in favor of Karen Fitzsimmons and to order a new trial to assess her
damages and to reassess Matthew Fitzsimmons’s damages.

    1. Manifest Weight of the Evidence

        At trial, Matthew Fitzsimmons sought damages for pain and suffering, emotional distress,
and loss of normal life. Ultimately, the jury awarded him $5,500 for pain and suffering, $3,000 for
emotional distress, and $0 for loss of normal life. The jury further reduced these awards by the
percentage of negligence they found attributable to Matthew Fitzsimmons, 40%. Plaintiffs argue
that the jury’s award is against the manifest weight of the evidence.

    Under Illinois law, a jury’s determination of damages “is a question of fact that is within the
discretion of the jury” and “is entitled to substantial deference.” Snover v. McGraw, 667 N.E.2d
1310, 1315 (Ill. 1996). A court may vacate a jury’s award of damages only if “a proven element
of damages was ignored, the verdict resulted from passion or prejudice, or the award bears no
reasonable relationship to the loss suffered.” Stift v. Lizzadro, 841 N.E.2d 126, 134 (Ill. Ct. App.
2005) (quoting Snover, 667 N.E.2d at 1315). “[U]nlike economic damages, such as medical
expenses,” noneconomic damages, such as pain and suffering, emotional distress, and loss of
normal life are “not as readily calculable in money.” Snover, 667 N.E.2d at 1315. The Illinois
Supreme Court has held that a jury may reasonably find a defendant negligent and, at the same
time, award nothing for noneconomic damages where the evidence supports such an award.
Snover, 667 N.E.2d at 1315 (jury could conclude that the plaintiff “suffered only minimal
discomfort, which was not compensable”); see also Neville v. Gersham, No. 21 cv 131, 2024 WL
1254570, at *2 (S.D. Ill. March 25, 2024) (“[E]ven if (as in Snover) the jury thought Defendant's
negligence caused some physical injury to Plaintiff, the jury was ‘well within the confines of the
evidence in concluding’ that Defendant's negligence did not proximately cause Plaintiff pain and
suffering, loss of normal life, or emotional distress.” (quoting Snover, 667 N.E.2d at 1315)).

    In this case, the jury could reasonably find that Matthew Fitzsimmons suffered only minimal
pain and suffering and emotional distress and no loss of normal life. The evidence presented to the
jury established that Matthew Fitzsimmons hit his head during the July 30, 2019 collision and
suffered a concussion, or mild traumatic brain injury. However, the evidence establishing the

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severity, duration, and effects of that injury was both contested and primarily subjective in nature.
“Where evidence is contradicted, or where it is merely based on the subjective testimony of the
plaintiff, a jury is free to disbelieve it.” Stift, 841 N.E.2d at 135 (upholding jury award of no
damages for loss of normal life); see also Snover, 667 N.E.2d at 1315 (“In cases in which a
plaintiff's evidence of injury is primarily subjective in nature and not accompanied by objective
symptoms, . . . the jury may reasonably find the plaintiff's evidence of pain and suffering to be
unconvincing.”). At trial, the jury was presented with evidence that, from the time of the July 30,
2019 collision through the time of trial almost six years later, Matthew Fitzsimmons has
complained of subjective symptoms such as light sensitivity, noise sensitivity, overstimulation,
headaches, and dizziness. The jury also heard testimony that these symptoms have limited the time
Matthew Fitzsimmons spends with his family and his ability to perform chores around the house,
although he has been able to continue participating in everyday activities such as going on long
bicycle rides and volunteering at a pottery studio (until a few weeks before trial). Although the
testimony of Plaintiffs’ experts and the evidence in the medical record were “replete with
references” to Matthew Fitzsimmons’s subjective symptoms, “[t]he fact that they were
memorialized in a great number of medical records does not transform them into objective
evidence.” Springer v. Ethicon, Inc., No. 17 cv 3930, 2018 WL 1453553, at *10 (N.D. Ill. March
23, 2018) (upholding jury’s award of no damages for pain and suffering). Plaintiffs argue in their
reply brief that Plaintiffs’ expert, Dr. Short, testified that objective evidence supported his
conclusion that Matthew Fitzsimmons sustained a permanent brain injury in the July 30, 2019
collision which has caused Matthew Fitzsimmons’s subjective symptoms. This argument
mischaracterizes the testimony. Dr. Short testified on cross-examination that there were no
objective findings to support Matthew Fitzsimmons’s subjective complaints. Another of Plaintiffs’
experts, Dr. Rothke, did testify that objective evidence supported his conclusion that the July 30,
2019 collision caused Matthew Fitzsimmons to suffer neuropsychological impairments. However,
Defendant’s expert, Dr. Soble, disputed those findings. Dr. Soble also disputed the nature and
severity of Matthew Fitzsimmons’s injuries, testifying that objective evidence established that
Matthew Fitzsimmons is cognitively normal and that any objective symptoms of a concussion
would have resolved within three months.

    In light of the subjective nature of Matthew Fitzsimmons’s complaints and the conflicting
expert testimony, “[c]redibility was significant in this case.” Snover, 667 N.E.2d at 1315. Although
Matthew Fitzsimmons and others testified about the restrictions and limitations in Matthew
Fitzsimmons’s life, “the jury was free to make its own credibility determinations and reject or
accept their testimony.” Poliszczuk v. Winkler, 899 N.E.2d 1115, at 1131 (Ill. Ct. App. 2008)
(upholding jury award of no damages for loss of normal life); see also DiFranco v. Kusar, 90
N.E.3d 556, 565 (Ill. Ct. App. 2017) (upholding jury award of no damages for pain and suffering).
Additionally, even if the jury accepted Matthew Fitzsimmons’s subjective symptoms, the jury was
presented with evidence that those symptoms could be unrelated to the July 30, 2019 collision.
Plaintiffs have not alleged that there was an error of law that affected the jury verdict and “[t]he
record contains no suggestion of mistake, confusion, partiality, or prejudice on the part of the jury.”
Snover, 667 N.E.2d at 1315. The Court concludes that the jury’s damages award is “well within
the confines of the evidence” and that a new trial is not warranted on this basis. Id.




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   2. Inconsistent Verdicts

        Plaintiffs argue that the verdict for Plaintiff Matthew Fitzsimmons is inconsistent with the
verdict against Plaintiff Karen Fitzsimmons on her loss of consortium claim. They argue that there
is no reasonable hypothesis to support the jury’s determination that Defendant was not liable to
Karen Fitzsimmons and that the jury’s verdict contravened the jury instructions. They ask the
Court to enter judgment for Karen Fitzsimmons and order a new trial to assess her damages.

        “A new trial on all claims is the appropriate remedy (rather than judgment as a matter of
law) in a case in which the jury has returned inconsistent verdicts.” Deloughery v. City of Chicago,
422 F.3d 611, 617 (7th Cir. 2005); see also Black & Decker Inc. v. Robert Bosch Tool Corp., No.
04 C 7955, 2007 WL 108412, at *11 (N.D. Ill. Jan. 12, 2007) (“[T]he proper remedy for an
inconsistent verdict is a new trial under [Federal Rule of Civil Procedure] 59(a).”). Therefore, the
Court will not enter judgment for Karen Fitzsimmons but will consider whether Plaintiffs are
entitled to a new trial on all claims pursuant to Federal Rule of Civil Procedure 59(a)(1)(A). A
party claiming inconsistent verdicts is not entitled to a new trial unless “no rational jury could have
brought back” the verdicts which were returned. Deloughery, 422 F.3d at 617 (internal citation
and quotation omitted). “If possible, this court must reconcile apparently inconsistent verdicts,
rather than overturn them.” Id.

        A loss of consortium claim allows one spouse (“the deprived spouse”) to recover damages
for injury to the other spouse (“the injured spouse”). Pease v. Ace Hardware Home Center of
Round Lake No. 252c, 498 N.E.2d 343, 349 (Ill. Ct. App. 1986). A claim for loss of consortium is
“a separate cause of action,” even though it depends upon the claim of the injured spouse. Id. To
recover for loss of consortium, a deprived spouse must “prove liability on the part of defendant,
marriage to the injured spouse, and damages.” Seaman v. Wallace, 561 N.E.2d 1324, 1338 (Ill.
App. Ct. 1990). “[A]lthough liability may have been proved, a plaintiff must still prove damages
to recover.” Id.

        Defendant argues that the jury’s verdict against Karen Fitzsimmons is essentially the same
as a verdict for Karen Fitzsimmons with an award of zero damages. Courts applying Illinois law
have upheld jury verdicts that awarded damages to the injured spouse but no damages to the
deprived spouse for loss of consortium. See id. (“There is no presumption of injury to the rights of
consortium of the wife arising from injury to the husband”); Bray v. National R.R. Passenger
Corp., No. 91 cv 4977, 1993 WL 189630, at *5 (N.D. Ill. June 3, 1993). However, the Illinois
Appeals Court has previously declined to construe a verdict against a deprived spouse as an award
of zero damages. See Pease, 498 N.E.2d at 349. The Pease court rejected this argument mainly
because the court found that “the jury’s verdict, if construed as an award of ‘0’ damages, [would
have been] against the manifest weight of the evidence.” Id. at 352. In this case, the Court notes
that evidence of Karen Fitzsimmons’s damages was contested. Evidence of Matthew
Fitzsimmons’s injury was primarily subjective, the nature and severity of Matthew Fitzsimmons’s
injury was strongly disputed at trial, and the jury was presented with evidence that Matthew
Fitzsimmons’s symptoms could be unrelated to the July 30, 2019 collision. The jury was free to
make credibility determinations and reject the testimony of any witness, including Matthew and
Karen Fitzsimmons. Given the minimal award of damages to Matthew Fitzsimmons, the jury
apparently concluded that the July 30, 2019 collision did not severely injure him. Therefore, it

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would not have been against the manifest weight of the evidence for the jury to have awarded no
damages to Karen Fitzsimmons. See Seaman, 561 N.Ed.2d at 1339 (“The jury’s determination
concerning the loss of consortium [was] supportable.”). The fact that an award of zero damages
for loss of consortium would not have been against the manifest weight of the evidence
distinguishes this case from Pease. Therefore, the Court construes the jury’s verdict against Karen
Fitzsimmons as an award of zero damages and finds that the jury did not disregard the jury
instructions.

        Additionally, Plaintiffs waived their right to object to any inconsistency in the verdicts.
The Seventh Circuit has held that “a party wishing to challenge a jury’s general verdict on the
ground of inconsistent verdicts must normally make a contemporaneous objection before the jury
disbands.” Continental Vineyard, LLC v. Vinifera Wine Co., LLC, 973 F.3d 747, 754 (7th Cir.
2020). There are exceptions to this general rule, including if “a party had no meaningful
opportunity to object to the jury's verdict” or “if the jury’s verdict resists all efforts at
reconciliation, such that the grant of a Rule 59 motion for new trial is the only remedy possible.”
Id. These exceptions to the contemporaneous objection rule do not apply in this case. Plaintiffs
had ample opportunity to object on the ground of inconsistent verdicts. After the jury returned the
verdicts, the Court sent the jury out of the room and specifically asked the parties if the verdicts
were inconsistent. If any party had argued that the verdicts were inconsistent, the Court could have
tried to “fix the problem by resubmission to the jury as contemplated by [Federal Rule of Civil
Procedure] 49(b)(3)(B).” Id. Not only did Plaintiffs fail to make a contemporaneous objection, but
Plaintiffs’ counsel explicitly declined to do so. Therefore, Plaintiffs have also waived any right to
object that the verdicts are inconsistent. Id.

                                            CONCLUSION

        Plaintiffs’ motion for new trial [114] is denied.




Date:   June 11, 2025                  ENTER:

                                               _______________________________
                                               United States Magistrate Judge




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